Larios, Quintin & Larios, Maria
                                                                                                              Case 15-15051-RAM                  Doc 3        Filed 03/20/15           Page 1 of 3
                                                                           Fill in this inform ation to identify your case:


                                                                          D ebtor 1          Quintin Larios
                                                                                             __________________________________________________________________
                                                                                                First N ame             Middle Nam e            Last Name

                                                                          D ebtor 2            Maria  Larios
                                                                                               ________________________________________________________________
                                                                          (Spous e, if fili ng) First N ame             Middle Nam e            Last Name


                                                                          U nited States Bankruptcy Court for the:   Southern District of Florida
                                                                          C ase number          ___________________________________________
                                                                           (If known)

                                                                                                                                                                                       Check if this is an amended filing



                                                                        Official Form 22A 1Supp
                                                                        Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                            12/14

                                                                        File this supplem ent together with Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1), if you believe that you are
                                                                        exempted from a presumption of abuse. Be as complet e and accurate as possible. If two married people are filing together, and any o f the
                                                                        exclusions in thi s statement applies to only one of you, the other person should complete a separ ate Form 22A-1 if you believe that this is
                                                                        required by 11 U.S.C. § 707(b)(2)(C).


                                                                        Part 1:         Identify the Kind of Debts You Have

                                                                        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
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                                                                           personal, family, or household purpose.” Make sure that your answer is consistent with the “Nature of Debt s” box on page 1 of the Voluntary Petition
                                                                           (Official Form 1).

                                                                                 No. Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then subm it
                                                                                     this suppl ement with the signed Form 22A -1.
                                                                                 Yes. Go to Part 2.

                                                                        Part 2:         Determine Whether Military Service Provisions Apply to You


                                                                        2. Ar e you a disabl ed veteran (as defined in 38 U.S.C. § 3741(1))?

                                                                                 No. Go to line 3.
                                                                                 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                                                                                         10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                                                                                              No. Go to line 3.
                                                                                              Yes. Go to Form 22A-1; on the top of page 1 of that form, c heck box 1, There is no presumption of abuse, and sign Part 3. Then submit
                                                                                                   this s upplement with the signed Form 22A-1.

                                                                        3. Ar e you or have you been a Reservist or member of the National Guard?
                                                                                 No. Com plete Form 22A-1. Do not submit this supplement.
                                                                                 Yes. Were you called to a ctive duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)

                                                                                        No. Complete Form 22A-1. Do not submit this supplement.
                                                                                        Yes. Check any one of the following c ategories that applies:

                                                                                             I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                                                                                             90 days and remain on active duty .                                          Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                                                                                          box 3, The Means Test does not apply now, and sign
                                                                                             I was called to active duty after September 11, 2001, for at least
                                                                                                                                                                          Part 3. Then s ubmit this supplement with the signed
                                                                                             90 days and was released from active duty on _______________,
                                                                                                                                                                          Form 22A-1. You are not required to fill ou t the rest of
                                                                                             whic h is fewer than 540 days before I file this bankruptcy case.
                                                                                                                                                                          Official Form 22A-1 during the exclusion period. The
                                                                                             I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on ac tive duty
                                                                                                                                                                          or are performing a homeland defense activity, and for
                                                                                             I performed a hom eland defense activity for at least 90 days,               540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                                                                                             ending on _______________, which is fewer than 540 days before
                                                                                                                                                                          If your exclusion period ends before your case is closed,
                                                                                             I file this bankruptcy case.
                                                                                                                                                                          you may hav e to file an amended form later.




                                                                        Off icial Form 22A-1Supp                          Statement of Exemption from Presumption of Abus e Under § 707(b)(2)                                   page 1
                                                                                                        Case 15-15051-RAM                   Doc 3       Filed 03/20/15            Page 2 of 3


                                                                      Fi ll in this information to identify your case:                                                    Check one box only as directed in this form and in
                                                                                                                                                                          Form 22A-1Supp:
                                                                      Debtor 1          Quintin Larios
                                                                                        __________________________________________________________________
                                                                                           First Name              Middle Name            Last Nam e
                                                                                                                                                                             1. There is no presumption of abus e.
                                                                      Debtor 2             Maria Larios
                                                                                           ________________________________________________________________
                                                                      (Spouse, if fil ing) First Name              Middle Name            Last Nam e
                                                                                                                                                                             2. The calculation to determine if a presumption of
                                                                                                                                                                                abuse applies will be made under Chapter 7 Means
                                                                      United States Bankruptcy Court for the:   Southern District of Florida                                    Test Cal culation (Official Form 22A–2).
                                                                      Case number         ___________________________________________                                        3. The Means Test does not apply now because of
                                                                       (If known)
                                                                                                                                                                                qualified military s ervic e but it c ould apply later.


                                                                                                                                                                             Check if this is an amended filing


                                                                     Official Form 22A 1
                                                                     Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/14

                                                                     Be as complete and accurate as p ossible. If tw o married people are filing together, both are equally responsible for being accurate. If more space
                                                                     is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
                                                                     pages, write your name and case num ber (if know n). If you believe that you are exempted from a presumption of abuse because you d o not have
                                                                     primarily consumer d ebts or because o f qualifying military service, com plete and file Statement of Exemption from Presumption of Abuse Under
                                                                     § 707(b)(2) (Official Form 22A-1Supp) with this form .
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                                                                      Part 1:         Calculate Your Current Monthly Income

                                                                      1. What is your marital and filing status? Check one only.
                                                                                Not married. Fill out Column A, lines 2-11.
                                                                                Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

                                                                                Married and your spouse is NOT filing with you. You and your spouse are:

                                                                                        Living in the sam e household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                                                                                        Living separat ely or are legally separated. Fill out Col umn A, lines 2-11; do not fill out Column B. By checking this box, you declare
                                                                                        under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spous e
                                                                                        are living apart for reasons that do not include evading the Means Test requirements. 11 U .S.C. § 707(b)(7)(B).

                                                                           Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this bankruptcy
                                                                           case. 11 U.S.C. § 101(10A). For example, if y ou are filing on September 15, the 6-month period would be March 1 through August 31. If the
                                                                           am ount of your monthly income varied during the 6 mont hs, add the income for all 6 mont hs and divide the total by 6. Fill in the result. Do not
                                                                           include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
                                                                           one column only. If y ou have not hing to report for any line, write $0 in the space.
                                                                                                                                                                          Column A             Column B
                                                                                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                                                                                               non-filing spouse
                                                                      2. Your gross w ages, salary, tips, bonuses, overtime, and commissions (befor e all
                                                                         payrol l deductions ).                                                                            $_________            $__________

                                                                      3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                         Column B is filled in.                                                                            $_________            $__________

                                                                      4. All amounts from any source w hich are r egular ly paid for household expenses
                                                                         of you or your dependents, including child support. Include regular cont ributions
                                                                         from an unmarried partner, members of your household, your dependents, parents,
                                                                         and roommates. Include regular contributions from a spouse only if Column B is not
                                                                         filled in. Do not include pay ments you listed on line 3.                                         $_________            $__________

                                                                      5. Net income from operating a business, profession, or farm
                                                                         Gross receipts (before all deductions)                  $_________
                                                                           Ordinary and necessary operating expenses                     – $_________
                                                                           Net mont hly income from a business, profession, or farm        $_________ Cop y h ere          $_________            $__________

                                                                      6. Net income from rental and other real prope rty
                                                                         Gross receipts (before all deductions)                            $_________
                                                                           Ordinary and necessary operating expenses                     – $_________
                                                                           Net mont hly income from rental or other real property          $_________     Copy h ere       $_________            $__________
                                                                      7. Interest, dividends, and royalties                                                                $_________            $__________

                                                                     Of ficial Form 22A-1                            Chapter 7 S tatement of Your Current Monthly Income                                                    page 1
                                                                                                                  Case 15-15051-RAM                                 Doc 3     Filed 03/20/15          Page 3 of 3

                                                                     Debtor 1            Quintin Larios
                                                                                         _______________________________________________________                                        Case number (if known)_____________________________________
                                                                                         First Name           Middle Nam e                Last Name




                                                                                                                                                                                            Column A                 Column B
                                                                                                                                                                                            Debtor 1                 Debtor 2 or
                                                                                                                                                                                                                     non-filing spouse

                                                                      8. Unemployment compensation                                                                                            $__________              $_________
                                                                          Do not enter the amount if you contend that the amount received was a benefit
                                                                          under the Social Security Act. Instead, lis t it here: ...........................
                                                                                For you .......................................................................   $______________
                                                                                For your spouse.......................................................... $______________

                                                                      9. Pension or retirement incom e. Do not inc lude any amount received that was a
                                                                         benefit under the Social Securit y Act.                                                                              $__________              $__________
                                                                      10. Incom e from all other sources not listed above. Specify the source and amount.
                                                                          Do not include any benefits received under the Social Securit y Act or pay ments received
                                                                          as a vic tim of a war crime, a crime against humanity, or i nternational or domestic
                                                                          terrorism. If necessary, list ot her sources on a separate page and put the total on line 10c.

                                                                             10a. _______________________________________                                                                     $_________               $__________
                                                                             10b. ______________________________________                                                                      $_________               $__________

                                                                             10c. Total amounts from separate pages, if any.                                                               +$_________               + $__________
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                                                                      11. Calculate your total current monthly income. Add lines 2 through 10 for each
                                                                          column. Then add the total for Column A to the total for Column B.                                                  $____ _____
                                                                                                                                                                                                                 +     $__________
                                                                                                                                                                                                                                          =   $__________
                                                                                                                                                                                                                                              Total current monthl y
                                                                                                                                                                                                                                              income

                                                                      Part 2:          Determine Whether the Means Test Applies to You

                                                                      12. Calculate your current monthly income for the year. Follow these steps:
                                                                          12a.       Copy your total current monthly income from line 11..................................................................... Copy line 11 here    12a.   $__________

                                                                                     Multiply by 12 (t he number of months in a year).                                                                                                    x 12
                                                                          12b.       The result is your annual income for thi s part of the form.                                                                                  12b.   $__________

                                                                      13. Calculate the median family income that applies to you. Follow these steps:

                                                                          Fill in the state in whi ch you live.

                                                                          Fill in the number of people in your household.

                                                                          Fill in the median family income for y our state and size of household. ................................................................................. 13.   $__________
                                                                          To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                          ins tructions for this form. This list may also be available at the bankruptc y clerk’s office.
                                                                      14. How do the lines compare?
                                                                          14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                                                                                         Go to Part 3.
                                                                          14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A -2.
                                                                                         Go to Part 3 and fill out Form 22A–2.

                                                                      Part 3:            Sign Below

                                                                                       By signing here, I declare under penalty of perjury that the information on this statement and in any att achments is true and correct.


                                                                                             /s/ Quintin Larios
                                                                                             ___________________________________________________                                     ______________________________________
                                                                                                                                                                                     /s/ Maria Larios
                                                                                             Signature of Debtor 1                                                                   Signature of Debtor 2


                                                                                                 March 20, 2015
                                                                                            Date _________________                                                                        ____ _____________
                                                                                                                                                                                     Date March   20, 2015
                                                                                                 MM / DD / YYYY                                                                           MM / DD / YYYY


                                                                                       If you checked line 14a, do NOT fill out or file Form 22A–2.

                                                                                       If you checked line 14b, fill out Form 22A –2 and file it with this form.
                                                                     ¯¯¯¯¯

                                                                     Off icial Form 22A-1                                           Chapter 7 S tatement of Your Current Monthly Income                                                          page 2
